Case 2:07-cr-20099-JWL-DJW        Document 780       Filed 06/11/10    Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
              v.                                 )      Case No. 07-20099-18
                                                 )
JULIO CESAR LOYA-CONTRERAS,                      )
     a.k.a. “Orestes Garcia,”                    )
                  Defendant.                     )
                                                 )



                         MEMORANDUM AND ORDER

       On August 24, 2009, Mr. Loya-Contreras pled guilty to conspiracy to

distribute and possession with intent to distribute 1000 kilograms or more of

marijuana and five kilograms or more of cocaine. Mr. Loya-Contreras was sentenced

to 136 months in prison and is currently incarcerated at the Federal Correctional

Institution in Fort Worth (FCI Fort Worth).

       The matter is presently before the Court on Mr. Loya-Contreras’s “Motion for

Help Locating Money in Possession at the Time of Arrest” (doc. 733). The motion is

denied as moot.

1.     Background

       On March 4, 2010, Mr. Loya-Contreras filed the “Motion for Help Locating

Money in Possession at the Time of Arrest” (doc. 733). Mr. Loya-Contreras claims

he surrendered $970.00 he had on his person when he was arrested and detained at
Case 2:07-cr-20099-JWL-DJW          Document 780       Filed 06/11/10     Page 2 of 4




the Wyandotte County Jail on February 17, 2009.

       On April 5, 2010, the United States timely filed the “Government’s Response

to Defendant’s Motion for Help Locating Money in Possession at the Time of Arrest”

(doc. 763). The government confirmed that Mr. Loya-Contreras had $970.00 on his

person at the time of his arrest, but it asserts a purchase at the jail decreased the sum

to $968.75. The government represented that it had requested the Wyandotte County

Sheriff’s Office, as operator of the Wyandotte County Jail, to mail a check for

$968.75 to FCI Fort Worth.

       On May 13, 2010, Mr. Loya-Contreras filed the “Respond [sic] to Government

Response Under Motion to Return Property Federal Rule of Criminal Procedure

41(g)” (doc. 772). In this document, Mr. Loya-Contreras also claims to have

surrendered a gold chain, a watch, a silver belt, and a wallet containing personal

documents.

2.     Discussion

       Rule 41(g) of the Federal Rules of Criminal Procedure controls the return of

property seized during or in connection with a criminal investigation. Rule 41(g)

provides the following:

       A person aggrieved by an unlawful search and seizure of property or by the
       deprivation of property may move for the property’s return. The motion must
       be filed in the district where the property was seized. The court must receive
       evidence on any factual issue necessary to decide the motion. If it grants the
       motion, the court must return the property to the movant, but may impose
       reasonable conditions to protect access to the property and its use in later
       proceedings.

                                             2
Case 2:07-cr-20099-JWL-DJW         Document 780        Filed 06/11/10   Page 3 of 4




Fed. R. Crim. P. 41(g). A district court retains jurisdiction over a Rule 41(g) claim

even if the underlying criminal proceedings have terminated. United States v. Clark,

84 F.3d 378, 381 (10th Cir. 1996).

       The court should treat a post-trial Rule 41(g) motion as a civil complaint. Id.

Further, the court should construe it as an equitable civil proceeding. United States v.

Clymore, 245 F.3d 1195, 1201 (10th Cir. 2001).

       When filing a Rule 41(g) motion after the termination of criminal proceedings,

a movant is only required to show a right to lawful possession of the property. Id.

(quoting United States v. Chambers, 192 F.3d 374, 377 (3d Cir. 1999)). If the movant

can show this right to lawful possession, he or she “is presumed to have a right to its

return, and the government must demonstrate that it has a legitimate reason to retain

the property.” Id.

       Here, the government neither contests Mr. Loya-Contreras’s right to lawful

possession of the $968.75 nor claims a legitimate reason to retain the property.

Instead, the government asserts it has requested that the Wyandotte County Sheriff’s

Office, as custodian of Mr. Loya-Contreras’s money, send the funds to be held for him

at FCI Fort Worth. Thus, the motion is denied as moot because the government has

already taken steps to provide the requested relief.

       In his reply, Mr. Loya-Contreras also claims the government has deprived him

of personal property upon his arrest and detention. In accepting a reply, this Court


                                            3
Case 2:07-cr-20099-JWL-DJW         Document 780      Filed 06/11/10    Page 4 of 4




will “deny or exclude summarily all arguments and issues first raised in [a] reply.”

Wagher v. Guy’s Foods, Inc., 765 F. Supp. 667, 671 (D. Kan. 1991). Thus, the

additional matters raised in the reply are not properly before the Court. However, Mr.

Loya-Contreras may file a new Rule 41(g) motion to seek return of his other personal

property.

       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

for help locating money (doc. 733) is denied as moot.

       IT IS SO ORDERED this 11th day of June, 2010



                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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